




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS




)
	

ALEJANDRO LEDESMA, JR.,)
		   No.  08-03-00108-CR

)


			Appellant,)
			Appeal from

)
	

v.)
		       41st District Court

)


THE STATE OF TEXAS,)
		of El Paso County, Texas

)


			Appellee.)
		    (TC# 20000D04485)



MEMORANDUM OPINION



	This is an attempted appeal from a murder conviction.  Pending before the Court is
Appellant's motion for an out of time appeal.  The motion is denied and the attempted appeal is
dismissed for want of jurisdiction.

	According to his motion and the exhibits attached thereto, Appellant was sentenced in open
court on October 28, 2002.  Trial counsel timely filed a motion for new trial, but the trial court
permitted counsel to withdraw on December 3, 2002, as Appellant planned to retain new counsel to
represent him on appeal.  Appellant did not succeed in hiring counsel before the time for perfecting
appeal had expired.  The trial court did not appoint appellate counsel until February 21, 2003.  To
our knowledge, Appellant has never filed a notice of appeal.  By his motion, Appellant asks that we
utilize Rule 2 of the Texas Rules of Appellate Procedure to allow him an out-of-time appeal.

	A timely notice of appeal is necessary to invoke this Court's jurisdiction.  Olivo v. State, 918
S.W.2d 519, 522 (Tex.Crim.App. 1996).  Rule 26.2(a) prescribes the time period in which notice of
appeal must be filed by the defendant in order to perfect appeal in a criminal case.  A defendant's
notice of appeal is timely if filed within thirty days after the day sentence is imposed or suspended
in open court, or within ninety days after sentencing if the defendant timely files a motion for new
trial. Tex.R.App.P. 26.2(a); Olivo, 918 S.W.2d at 522.  Pursuant to Rule 26.3, a court of appeals may
grant an extension of time to file notice of appeal if the notice is filed within fifteen days after the
last day allowed and, within the same period, a motion is filed in the court of appeals reasonably
explaining the need for the extension of time.  Tex.R.App. P. 26.3; Olivo, 918 S.W.2d at 522.  Under
Rule 26.3, a late notice of appeal may be considered timely so as to invoke a court of appeals'
jurisdiction if (1) it is filed within fifteen days of the last day allowed for filing, (2) a motion for
extension of time is filed in the court of appeals within fifteen days of the last day allowed for filing
the notice of appeal, and (3) the court of appeals grants the motion for extension of time.  Olivo, 918
S.W.2d at 522.

	When a defendant appeals from a conviction in a criminal case, the time to file notice of
appeal runs from the date sentence is imposed or suspended in open court, not from the date sentence
is signed and entered by the trial court.  Rodarte v. State, 860 S.W.2d 108, 109 (Tex.Crim.App.
1993).  The last date allowed for timely filing of the notice of appeal was January 26, 2003, ninety
days after the day the sentence was imposed in open court.  Tex.R.App.P. 26.2(a)(1).  Because
Appellant did not file his notice of appeal by January 26, 2003 or within fifteen days after that date,
and he failed to file a motion for extension of time, he failed to perfect this appeal.  

	Appellant asks that we utilize Rule 2  to allow him an out-of-time appeal.  That rule provides
that:

	On a party's motion or on its own initiative an appellate court may--to expedite a
decision or for other good cause--suspend a rule's operation in a particular case and
order a different procedure; but a court must not construe this rule to suspend any
provision in the Code of Criminal Procedure or to alter the time for perfecting an
appeal in a civil case.


Tex.R.App.P. 2.

	Having failed to timely file a notice of appeal, Appellant has not invoked the jurisdiction of
this Court.  In the absence of jurisdiction, an appellate court cannot utilize Rule 2 to suspend the
rules.  Slaton v. State, 981 S.W.2d 208, 210 and n.4 (Tex.Crim.App. 1998).  When an appeal is not
timely perfected, a court of appeals can take no action other than to dismiss the appeal.  Slaton, 981
S.W.2d at 210; Olivo, 918 S.W.2d at 523.  Accordingly, we deny Appellant's motion and dismiss
the attempted appeal for want of jurisdiction.



April 3, 2003						                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.


(Do Not Publish)


